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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:16-cv-02372-CBS

303 CREATIVE LLC, a limited liability company; and
LORIE SMITH,

       Plaintiffs,

vs.

AUBREY ELENIS, as Director of the Colorado Civil
Rights Division, in her official capacity;
ANTHONY ARAGON,
ULYSSES J. CHANEY,
MIGUEL “MICHAEL” RENE ELIAS,
CAROL FABRIZIO,
HEIDI HESS,
RITA LEWIS, and
JESSICA POCOCK, as members of the Colorado Civil
Rights Commission, in their official capacities, and
CYNTHIA H. COFFMAN, Colorado Attorney General,
in her official capacity,

       Defendants.


            AFFIDAVIT OF LORIE SMITH IN SUPPORT OF PLAINTIFFS’
                  MOTION FOR PRELIMINARY INJUNCTION


I, Lorie Smith, hereby declare as follows:

1.     I am competent to testify, and, in addition to my sworn testimony in the Verified

       Complaint, make this declaration based on my personal knowledge.

2.     On March 5, 2013, the Colorado Civil Rights Division found that Masterpiece Cakeshop

       violated Colorado’s Anti-Discrimination Act (“CADA”). Then, on December 6, 2013, an
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      administrative law judge (“ALJ”) of the State of Colorado Office of Administrative

      Courts also found Masterpiece Cakeshop in violation of CADA.

3.    A true and accurate copy of the Colorado Civil Rights Division’s Masterpiece Cakeshop

      decisions is included in the Appendix in Support of Plaintiffs’ Motion for Preliminary

      Injunction (“Appendix”) at pages 43-52 and a true and accurate copy of the ALJ’s initial

      decision finding Masterpiece Cakeshop in violation of CADA is included in the

      Appendix at pages 1-13.

4.    On May 30, 2014, the Colorado Civil Rights Commission issued a final order adopting in

      full the ALJ’s decision that Masterpiece Cakeshop violated CADA.

5.    A true and accurate copy of the Colorado Civil Rights Commission’s final order adopting

      the ALJ’s decision finding Masterpiece Cakeshop in violation of CADA is included in

      the Appendix at pages 14-16.

6.    On March 24, 2015, the Colorado Civil Rights Division found that Azucar Bakery did not

      violate CADA.

7.    A true and accurate copy of the Colorado Civil Rights Division’s Azucar Bakery decision

      is included in the Appendix at pages 17-21.

8.    On March 24, 2015, the Colorado Civil Rights Division found that Gateaux, Ltd. did not

      violate CADA.

9.    A true and accurate copy of the Colorado Civil Rights Division’s Gateaux, Ltd. decision

      is included in the Appendix at pages 22-26.

10.   On March 24, 2015, the Colorado Civil Rights Division found that Le Bakery Sensual,

      Inc. did not violate CADA.



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11.   A true and accurate copy of the Colorado Civil Rights Division’s Le Bakery Sensual, Inc.

      decision is included in the Appendix at pages 27-31.

12.   On June 30, 2015, the Colorado Civil Rights Commission affirmed the Colorado Civil

      Rights Division’s decisions finding that Azucar Bakery, Gateaux, Ltd., and Le Bakery

      Sensual, Inc. did not violate CADA. True and accurate copies of the Commission’s

      decisions in each case are included in the Appendix at pages 32-34.

13.   Many expressive businesses freely express their views in favor of same-sex marriage.

      Examples of such expression, all by Colorado businesses, are provided below.

14.   Brian Kraft Photography, before the legalization of same-sex marriage in Colorado,

      posted on its blog at http://blog.briankraft.com/denver-art-museum-wedding/:

      It’s a shame that I even feel the need to mention it—as it should be a non-issue,
      but as you enjoy these wedding photos of this wonderful same sex couple, please
      note how “right” everything is between these two and everyone that surrounds
      them, yet in the State of Colorado it is still not “right” (by law) to consider their
      union a “marriage,” with the benefits that come with that. Fortunately, Adam and
      Brian live in California, where they are finally offered the rights they so deserve.
      Hopefully all states will follow suit as soon as possible.

15.   A true and accurate copy of this Brian Kraft Photography blog post excerpt is included in

      the Appendix at page 35.

16.   Sarah   Roshan    Wedding     Photographer     similarly states    on   its   homepage   at

      http://sarahroshan.com/, under the heading “We Believe”: “There doesn’t always have to

      be one bride and one groom. We fully support and love our LGBT couples. We are so

      happy that the US [sic] government is finally recognizing you for the beautiful people

      you are.”




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17.   Sarah   Roshan     Wedding     Photographer    also   states   on   its   homepage   at

      http://sarahroshan.com/, under the heading “Meet Sarah”: “I believe one voice is enough

      to change the world.”

18.   True and accurate copies of these excerpts from the Sarah Roshan Wedding Photographer

      homepage are included in the Appendix at pages 36-37.

19.   In the introduction to a gallery of same-sex wedding pictures posted on its website at

      http://www.sarahroshanphoto.com/phillip-gary-chautauqua-elopement-same-sex-

      wedding-photographer/, Sarah Roshan Wedding Photographer further states:

      After Colorado ruled that a ban on gay marriage was unconstitutional I had a
      wave of peace and just started to cry. This topic always is rooted so deep in what
      I believe not only about gay marriage but the world. I grew up doing theatre and
      so, as the stereotype would have it about half of my male friends were gay and a
      decent amount of my female friends as well. I truly believe that our differences
      and hate are taught. I was never taught that same-sex couples love any different
      than a heterosexual couple and therefor[e] my views on this subject have always
      been love is love. I stand for love period. I am so happy that our country is
      moving in a direction of less and less judgment and more and more equality and
      love for each other. We are all different. That is what makes us beautiful. How
      we love is all the same.

      When I got a phone call for Phillip and Gary’s elopement back in October, I was
      so excited! This was to be my first same-sex wedding since the law took effect….
      I found myself tearing up behind my lens. This means so much to so many
      people. Something that I took for granted they were finally able to do. Reading
      the piece of paper that said marriage. All of it was magical ….

      ….

      Colorado is not yet 6 months into allowing gay marriage so I am looking forward
      to many more weddings, and someday I hope that people won’t even give it a
      second thought. Love is love after all.

20.   A true and accurate copy of this Sarah Roshan Wedding Photographer webpage excerpt

      is included in the Appendix at page 38.



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21.   Anginet Photography also expresses its views favoring same-sex marriage.

22.   Anginet Photography, through its owner Anginet Page, expressed its views regarding

      same-sex marriage to Castle Rock News-Press following the U.S. Supreme Court’s

      Obergefell decision.

23.   Castle Rock News-Press’s story explaining Anginet Photography’s support for same-sex

      marriage is located at http://castlerocknewspress.net/stories/Wedding-photographer-

      celebrates-court-ruling,192421.

24.   This Castle Rock News-Press story, entitled “Wedding photographer celebrates court

      ruling,” explains that Anginet Page left the Mormon church because of her support for

      same-sex marriage:

      As long as she can remember, Anginet Page said, she supported same-sex
      marriage rights. Her passion for marriage equality even led her to leave the
      Mormon church.

      “I was raised LDS, and one of the main reasons I left the church was because they
      didn’t support the right for people to love freely,” she said. “And so my whole life
      has been geared towards having same-sex marriage be legalized. The fact that it
      has is incredible.”

25.   A true and accurate copy of this Castle Rock News-Press story is included in the

      Appendix at page 39.

26.   In   introducing   pictures   of   a   same-sex   wedding    on   its   website   at

      http://nicolenichols.com/blog/weddings/wedding-gay-new-orleans/,             Nicole

      Nichols Photography also notes its support for same-sex marriage and criticizes

      religions that express a different view:

      …. I loved their pastor’s English accent & how he focused his sermon on how
      normal a gay union is, perhaps not popular, but certainly just as normal as any
      two people sharing their love & lives together. Throughout history gays have


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      always been a part of reality, and always will be, its [sic] just unfortunate
      government & religion has not always recognized it. It was great to see that
      Jeremie & Jonathan’s wedding was certainly full of lots of family & friends
      celebrating their love & bond.

27.   A true and accurate copy of this Nicole Nichols Photography blog post excerpt is

      included in the Appendix at page 40.

28.   On its blog at http://nicolenichols.com/blog/special-events/denver-pridefest-co-gay-

      weddings/, Nicole Nichols Photography further publicized its support for same-sex

      marriage and participation in Denver Pridefest:

      I am a strong believer that ALL should have the right to marry whomever he or
      she wants.

      Other than for the art and the challenge, one of the reasons I became a wedding
      photographer is because I’m a lover…a sentimental romantic that has always
      “awed” when I see any two people in love. I have no enemies, I love everyone.
      Sure some have called me a naive idealistic hippie, but I really do believe love
      can change the world. And if someone wants to express their love to another
      person through a wedding, well they should have the right do [sic] get married,
      and get divorced, just like everyone else!

      Not only am I a big supporter of gay rights…but also of brightly colored
      costumes, parades, and just having fun! So, on Sunday June 17th I was proud to
      be walking in support of CO gay weddings in the annual Denver
      Pridefest Parade. Wedding planner extraordinaire Mark . . . started CO Gay
      Weddings to help the gay and transgender community find LGBT friendly
      wedding professionals that don’t discriminate on sexual orientation. . . .

29.   A true and accurate copy of this Nicole Nichols Photography blog post excerpt is

      included in the Appendix at page 41.




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30.   In   introducing    pictures    of     a       same-sex   wedding   on   its   blog    at

      http://nicolenichols.com/blog/weddings/denver-gay-wedding-photographer-denver-

      botanical-gardens-tivoli-hall/, Nicole Nichols Photography also expressed its support for

      the Supreme Court’s decision in Obergefell:

      It was an honor to witness and be able to document the strong endearing love
      Ashley & Paige share. And I’m so proud of not only our state of Colorado, but
      the nation, for finally legalizing gay and lesbian marriages. All men and women
      should share the same rights that a legal marriage allows, from getting to file
      taxes together to being allowed to visit their spouse in severe hospital
      situations. Hopefully the rest of the world will soon follow. Love conquers all.

31.   A true and accurate copy of this Nicole Nichols Photography blog post excerpt is

      included in the Appendix at page 42.




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                  19th      September   2016     Littleton




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